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           EXHIBIT 4
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                                EXHIBIT 4 - 001
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Gmail - JIMS diagnosis issue                                               https://mail.google.com/mail/u/2?ik=7681accd8b&view=pt&search=all ...




         M        Gmail                                                                  Steve Mannis <cpmedgroup@gmail.com>



         JIMS diagnosis issue
         1 message

         Sanjay S. Rao <ssraomd@gmail.com>                                                     Tue, May 12, 2015at1:19 PM
         To: "Andersen, Claire" <candersen@rchsd.org>, "Brantman, Annie" <abrantman@gmail.com>, Celeste Kehoe
         <celeste.shamel@yahoo.com>, Chaitanya Pabbati <cpabbati@gmail.com>, "Compagnone, Mariana"
         <mcompagnone@rchsd.org>, "Daniels, Amanda" <amandadanielsnp@gmail.com>, "Ellis, Deborah"
         <deborahruth53@gmail.com>, Ernest De Guzman <akamaipsychmed@gmail.com>, "Gallardo, Andrea"
         <angallardo@ucsd.edu>, Gregory Paniccia <panicciag@synergyescondido.com>, Janna Larson
         <jannalarsonmd@gmail.com>, Jonathon Howlett <jhowlett@ucsd.edu>, Jorge Naranjo <jnara@sbcglobal.net>, Josh
         Tartaglione <joshua.tartaglione@gmail.com>, Katharine Dixon <kndixon@hotmail.com>, Kathryn Langham
         <klangham@rchsd.org>, Kenneth Richter <drkerjr@mac.com>, Kristy Lamb <kalamb@ucsd.edu>, "Larson, David"
         <davemlarson@gmail.com>, Louis Fontana <lfontanamd@gmail.com>, Majid Naficy <drmajidnaficy@gmail.com>, Maria
         Court <carolinakaylen@gmail.com>, "Monroe, Michael" <phdmonroe@gmail.com>, Natalie Do <natalieTdo@gmail.com>,
         Natasha Swarovski <nsvorovski@yahoo.com>, Nicolas Badre <nicolas.badre@gmail.com>, Rachel Robitz
         <rachel.robitz@gmail.com>, Ramin Shahla <ramael2001@yahoo.com>, Richard Rappaport
         <witness@psychexpert.com>, Ricki-Leigh Malaguti <rleigh12@gmail.com>, "Salahi, Ryan" <ryansalahi@gmail.com>,
         Sara Hansen <saramhansen@gmail.com>, Shawn Barnes <barn2243@yahoo.com>, "Small, Christian"
         <csmall@ucsd.edu>, "Swain, Nubia" <nswainmd10@gmail.com>, Steve Mannis <steve@cpmedgroup.com>

            Dear Colleagues,

            I just wanted to bring to your attention the "current problems" section of a patient's current summary page in JIMS.

           In the past, anytime there was a new diagnosis made for a patient during a specific booking period, that diagnosis was
           added to the "current problems" section of a patient's current summary page. (Adding a diagnosis is rather simple to
           do, after clicking on "physician order entry" from current summary page, you will see at the bottom of the "MD Notes"
           tab the option to "add" or "delete" a "problem code.")

            By adhering to this practice, it can provide a valuable snapshot of active pathology that is being considered in a
            particular patient during a particular detention period.

            Kindly, please consider taking a moment during your JIMS documentation to review the "current problems" section
            and update it as necessary.                                                                            ·

            Let me know your thoughts on this issue.

            Thanks,
            S.Rao




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                                                           EXHIBIT 4 - 002
Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11004 Page 4 of 54




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    Medication in Jail, specify medication nvolved)                                  ,

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Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11005 Page 5 of 54



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    j,




                                        Correctional Physicians Medical Group
                                                     Journal Club
                                                   Meeting Minutes
                                      Tuesday, January 12th, 2016: 7:00p--9:30p
             Attend@nce: Randolph Noble, MD, Nicolas Badre, MD, Louis Fontana, MD, Theresa Chen,
             MD, Sandra Lim, DO, Ernest DeGuzman, MD, Laura Wakil, MD, Michael, Monroe, PHD,
             Kelllleth Richter, MD, Anne Brantman, NP, Sanjay Rao, MD

             First Meeth!g of 2016

             New Businetl§.;

                 1. Quality Assurance/ Quality Improvement

             Training/ Policies and Procedures

                           a) Sanjay Rao, MD
                           b) Nicolas Badre, MD

                 2.    Case DiscusSioJl

                 a)    Case#l:
                       Hyponatremia and Polydipsia




                 c)-
                 b)




                 3.   ·Co~

                       a) 5150, 5250, 5270, TCon, PCon
                       b) 1370or1370.01 restore to competency

                 4.    Orders

                      a) PSU/WPS'C.T


             JJ,.ndates:
             NIA

             Next meeting will take place in May 2016.




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                                             EXHIBIT 4 - 004
    Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11006 Page 6 of 54

Gmail - Psych Provider termination                                         https ://mail.google.com/mail/u/O?ik=877cd48 l b7 &view=pt&search=all ...




         M Gmail                                                                           Steven Mannis <shmannis@gmail.com>



         Psych Provider termination
         26 messages

         Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org>                             Wed, Aug 17, 2016 at 9:19 AM
         To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>
         Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>

           Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B        by other psychiatrists,
           nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as productive, the quality
           issues deal with abrupt changes of medications, interactions with inmates that increase adverse events, and lack of
           time spent with patients. There are a number of individuals who have observed Dr. B        and feel he is dangerous
           with his clinical approach. Please remove Dr. B        from the schedule. Thank you.

           Alfred Joshua MD, MBA, FAAEM
           Chief Medical Officer, Sheriff's Department
           San Diego County


         Steven Mannis <shmannis@gmail.com>                                                            Wed, Aug 17, 2016 at 12:11 PM
         To: Steve Mannis <cpmedgroup@gmail.com>


            ----------Forwarded message----------
            From: Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org>
            Date: Wed, Aug 17, 2016 at 9:19 AM
            Subject: Psych Provider termination
            To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>
            Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>


            Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B        by other psychiatrists,
            nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as productive, the quality
            issues deal with abrupt changes of medications, interactions with inmates that increase adverse events, and lack of
            time spent with patients. There are a number of individuals who have observed Dr. B        and feel he is dangerous
            with his clinical approach. Please remove Dr. B        from the schedule. Thank you.

            Alfred Joshua MD, MBA, FAAEM
            Chief Medical Officer, Sheriff's Department
            San Diego County




            Steve


          Steven Mannis <shmannis@gmail.com>                                                           Wed, Aug 17, 2016 at 12:20 PM
          To: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
          Cc: "barbara.lee@sdsheriff." <Barbara.Lee@sdsheriff.org>

            Hello Dr. Joshua,

            I am in receipt of your email. I am working now to remove Dr. B          from the schedule. I will assume that you intend
            for this change to be effective immediately. I did want to let you know that Steve will be out of town until August 25th



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                                                           EXHIBIT 4 - 005
   Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11007 Page 7 of 54

Gmail - Psych Provider termination                                        https ://mail.google.com/mail/u/O?ik=S 77cd481 b7&view=pt&search=all. ..



           and unavailable to discuss this issue until then. I will make sure that he gets in touch with you as soon as he returns.
           In the interim, please don't hesitate to get in touch with me with any questions or needs.

           Best,

           Claire Wilson


           On Wed, Aug 17, 2016 at 9: 19 AM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
             Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B          by other
             psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as
           ' productive, the quality issues deal with abrupt changes of medications, interactions with inmates that increase
             adverse events, and lack of time spent with patients. There are a number of individuals who have observed Dr.
             B       and feel he is dangerous with his clinical approach. Please remove Dr. B         from the schedule. Thank
             you.

              Alfred Joshua MD, MBA, FAAEM
              Chief Medical Officer, Sheriff's Department
              San Diego County




           Steve


         Steven Mannis <shmannis@gmail.com>                                               Wed, Aug 17, 2016 at 12:34 PM
         To: "Sanjay S. Rao" <ssraomd@gmail.com>, Nicolas Badre <nicolas.badre@gmail.com>

           Can you please review dr B         charts And find out what the issue is ASAP. Thanks. Let me know

           Sent from my iPhone

           Begin forwarded message:


              From: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
              Date: August 17, 2016 at 7:19:53 PM GMT+3
              To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>
              Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
              Subject: Psych Provider termination


              Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B          by other
              psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as
              productive, the quality issues deal with abrupt changes of medications, interactions with inmates that increase
              adverse events, and lack of time spent with patients. There are a number of individuals who have observed Dr.
              B       and feel he is dangerous with his clinical approach. Please remove Dr. B         from the schedule. Thank
              you.

              Alfred Joshua MD, MBA, FAAEM
              Chief Medical Officer, Sheriff's Department
              San Diego County



         Steven Mannis <shmannis@gmail.com>                                            Wed, Aug 17, 2016 at 12:39 PM
         To: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
         Cc: "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Lee, Barbara" <Barbara.Lee@sdsheriff.org>



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2 of35                                                                                                                        1/31/2019, 1:56 PM
                                                            EXHIBIT 4 - 006
   Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11008 Page 8 of 54


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           I will need more details before I remove him.     I am out of town until the 26th. Please contact dr Rao so we may
           address and discuss his patient care

           Sent from my iPhone

           >On Aug 17, 2016, at 7: 19 PM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
           >
           > Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B          by other
           psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as productive,
           the quality issues deal with abrupt changes of medications, interactions with inmates that increase adverse events,
           and lack of time spent with patients. There are a number of individuals who have observed Dr. B          and feel he is
           dangerous with his clinical approach. Please remove Dr. B          from the schedule. Thank you.
           >
           >Alfred Joshua MD, MBA, FAAEM
           > Chief Medical Officer, Sheriff's Department
           > San Diego County


         Steven Mannis <shmannis@gmail.com>                                                            Wed, Aug 17, 2016 at 12:51 PM
         To: Anne Redburn <Anne.E.Redburn@alumni.dmu.edu>

           Anne. Have there been any issues that you are aware of?

           Sent from my iPhone

            Begin forwarded message:


               From: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
               Date: August 17, 2016 at 7:19:53 PM GMT+3
               To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>
               Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
               Subject: Psych Provider termination


               Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B          by other
               psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as
               productive, the quality issues deal with abrupt changes of medications, interactions with inmates that increase
               adverse events, and lack of time spent with patients. There are a number of individuals who have observed Dr.
               B       and feel he is dangerous with his clinical approach. Please remove Dr. B         from the schedule. Thank
               you.

               Alfred Joshua MD, MBA, FAAEM
               Chief Medical Officer, Sheriff's Department
               San Diego County



          Redburn, Anne E <Anne.E.Redburn@alumni.dmu.edu>                                               Wed, Aug 17, 2016 at 1:03 PM
          To: Steven Mannis <shmannis@gmail.com>



            Hi Dr. Mannis. I only know what I hear from other providers and staff since I haven't worked
            directly with Dr. B       He does seem to see a lot of patients and appears to be efficient, and
            he seems to want to reduce unnecessary medication use at the jails, but I've heard from others
            in our group that he stops non-abusive medications unnecessarily, has blocked a PSU admit for
            a suicidal patient, and will schedule follow up in clinic 12 weeks out. I've heard that nursing staff
            have been unhappy with him as well.


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           Let me know if I can help in any way.



           Anne




           From: Steven Mannis <shmannis@gmail.com>
           Sent: Wednesday, August 17, 2016 12:51 PM
           To: R~dburn, Anne E
           Subject: Fwd: Psych Provider termination


           Anne. Have there been any issues that you are aware of?

            SentfrommyiPhone

            Begin forwarded message:


              From: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
              Date: August 17, 2016 at 7:19:53 PM GMT+3
              To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com"
              <steve@cpmedgroup.com>
              Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
              Subject: Psych Provider termination


              Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr.
              B       by other psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in
              2-3 hours and can be seen as productive, the quality issues deal with abrupt changes of
              medications, interactions with inmates that increase adverse events, and lack of time spent
              with patients. There are a number of individuals who have observed Dr. B          and feel he is
              dangerous with his clinical approach. Please remove Dr. B          from the schedule. Thank
              you.

               Alfred Joshua MD, MBA, FAAEM
               Chief Medical Officer, Sheriffs Department
               San Diego County


         Sanjay S. Rao <ssraomd@gmail.com>                                                             Wed, Aug 17, 2016at1:17 PM
         To: Steven Mannis <shmannis@gmail.com>
         Cc: Nicolas Badre <nicolas.badre@gmail.com>

            I consulted with regular providers at Las Colinas and reviewed some charts of Dr. B         The quality issues that Dr.
            Joshua referenced about Dr. B          are true, unfortunately.


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4 of35                                                                                                                        1/31/2019, 1:56 PM
                                                          EXHIBIT 4 - 008
     Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11010 Page 10 of
                                           54
Gmail - Psych Provider termination                                         https://mail.google.com/mail/u/O?ik=877cd481 b7 &view=pt&search=all ...




           Let me kif there is anything else I can do.

           Thanks,
           S. Rao, MD


           On Wed, Aug 17, 2016 at 12:34 PM, Steven Mannis <shmannis@gmail.com> wrote:
            Can you please review dr B     charts And find out what the issue is ASAP. Thanks. Let me know

             Sent from my iPhone

             Begin forwarded message:


                     From: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
                     Date: August 17, 2016 at 7:19:53 PM GMT+3
                     To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com"
                     <steve@cpmedgroup.com>
                     Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
                     Subject: Psych Provider termination


                     Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B           by
                     other psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be
                     seen as productive, the quality issues deal with abrupt changes of medications, interactions with
                     inmates that increase adverse events, and lack of time spent with patients. There are a number of
                     individuals who have observed Dr. B          and feel he is dangerous with his clinical approach. Please
                     remove Dr. B         from the schedule. Thank you.

                     Alfred Joshua MD, MBA, FAAEM
                     Chief Medical Officer, Sheriff's Department
                     San Diego County



         Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org>                              Wed, Aug 17, 2016 at 1:27 PM
         To: Steven Mannis <shmannis@gmail.com>
         Cc: "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Lee, Barbara" <Barbara.Lee@sdsheriff.org>

            I want to clarify that you are stating you will not be removing him based on the information you receive.

           Alfred Joshua MD, MBA, FAAEM
           Chief Medical Officer, Sheriff's Department
           San Diego County

            >On Aug 17, 2016, at 12:39 PM, Steven Mannis <shmannis@gmail.com> wrote:
            >
            > I will need more details before I remove him. I am out of town until the 26th. Please contact dr Rao so we may
            address and discuss his patient care
            >
            > Sent from my iPhone
            >
            »On Aug 17, 2016, at 7:19 PM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
            >>
            » Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B           by other
            psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as productive,
            the quality issues deal with abrupt changes of medications, interactions with inmates that increase adverse events,
            and lack of time spent with patients. There are a number of individuals who have observed Dr. B         and feel he is



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     Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11011 Page 11 of
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           dangerous with his clinical approach. Please remove Dr. B         from the schedule. Thank you.
           >>
           »Alfred Joshua MD, MBA, FAAEM
           » Chief Medical Officer, Sheriff's Department
           » San Diego County


         Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org>                              Wed, Aug 17, 2016 at 1:38 PM
         To: Steven Mannis <shmannis@gmail.com>
         Cc: "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Lee, Barbara" <Barbara.Lee@sdsheriff.org>, "Abellar, Jose"
         <Jose.Abellar@sdsheriff.org>

           I want him removed immediately. I apologize but as you are the owner of the contract, the control for quality of care
           issues is lacking and as CMO I am forced to enforce quality of the mental health care provided to inmates to protect
           the Sheriff's department. I believe you are confusing productivity for quality as evidenced by the QA/QI report which
           did not meet the requirements of what the contract asked for. CPMG lack of control on the psychiatrists and lack of
           standardization for clinical practices has put the department at extreme risk from a legal standpoint and I will not
           hesitate to take actions unilaterally based on the failure to correct clinical care issues.

           Alfred Joshua MD, MBA, FAAEM
           Chief Medical Officer, Sheriff's Department
           San Diego County

           >On Aug 17, 2016, at 12:39 PM, Steven Mannis <shmannis@gmail.com> wrote:
           >
           > I will need more details before I remove him. I am out of town until the 26th. Please contact dr Rao so we may
           address and discuss his patient care
           >
           > Sent from my iPhone
           >
           »On Aug 17, 2016, at 7:19 PM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
           >>
           » Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B           by other
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           and lack of time spent with patients. There are a number of individuals who have observed Dr. B         and feel he is
           dangerous with his clinical approach. Please remove Dr. B          from the schedule. Thank you.
           >>
           »Alfred Joshua MD, MBA, FAAEM
           » Chief Medical Officer, Sheriff's Department
           » San Diego County


          Steven Mannis <shmannis@gmail.com>                                             Wed, Aug 17, 2016at1:59 PM
          To: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
          Cc: "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Lee, Barbara" <Barbara.Lee@sdsheriff.org>, "Abellar, Jose"
          <Jose.Abellar@sdsheriff.org>
          Bee: ssraomd@gmail.com, nicolas.badre@gmail.com

            Tonight will be his last shift then. He will be removed from all other shifts. It is impossible to review every single
            psychiatrist chart. If there are complaints or concerns about a provider my director and I need to know about these
            immediately so we we can review these charts for quality assurance and improvement purposes. This is the first I've
            heard of complaints about Dr. B

            Sent from my iPhone

            >On Aug 17, 2016, at 11:38 PM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
            >
            > I want him removed immediately. I apologize but as you are the owner of the contract, the control for quality of care


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6 of35                                                                                                                         1/31/2019, 1:56 PM
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     Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11012 Page 12 of
                                           54

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           issues is lacking and as CMO I am forced to enforce quality of the mental health care provided to inmates to protect
           the Sheriff's department. I believe you are confusing productivity for quality as evidenced by the QA/QI report which
           did not meet the requirements of what the contract asked for. CPMG lack of control on the psychiatrists and lack of
           standardization for clinical practices has put the department at extreme risk from a legal standpoint and I will not
           hesitate to take actions unilaterally based on the failure to correct clinical care issues.
           >
           >Alfred Joshua MD, MBA, FAAEM
           > Chief Medical Officer, Sheriff's Department
           > San Diego County
           >
           »On Aug 17, 2016, at 12:39 PM, Steven Mannis <shmannis@gmail.com> wrote:
           >>
           » I will need more details before I remove him. I am out of town until the 26th. Please contact dr Rao so we may
           address and discuss his patient care
           >>
           » Sent from my iPhone
           >>
           >»On Aug 17, 2016, at 7:19 PM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
           >>>
           »> Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B            by other
           psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can be seen as productive,
           the quality issues deal with abrupt changes of medications, interactions with inmates that increase adverse events,
           and lack of time spent with patients. There are a number of individuals who have observed Dr. B          and feel he is
           dangerous with his clinical approach. Please remove Dr. B           from the schedule. Thank you.
           >>>
           »> Alfred Joshua MD, MBA, FAAEM
           »> Chief Medical Officer, Sheriff's Department
           »> San Diego County


         Steven Mannis <shmannis@gmail.com>                                                                Wed, Aug 17, 2016 at2:21 PM
         To: "Sanjay S. Rao" <ssraomd@gmail.com>
         Cc: Nicolas Badre <nicolas.badre@gmail.com>

            I just sent him an email explaining the decision to terminate him . tonight will be his last shift . I am unable to call as I
            am out of the country so please call him as well to explain the quality of care issues and complaints and the reason is
            being terminated. I would think that we could sit down with him and change some of his management of patients but
            Dr. Joshua is insisting that he be terminated. Thank you .I hope you're working on the QA QI for this upcoming
            quarter to meet Dr. Joshua's expectations. I will be back in town next week

            Sent from my iPhone

            On Aug 17, 2016, at 11:17 PM, Sanjay S. Rao <ssraomd@gmail.com> wrote:


              I consulted with regular providers at Las Colinas and reviewed some charts of Dr. B              The quality issues that
              Dr. Joshua referenced about Dr. B         are true, unfortunately.

              Let me kif there is anything else I can do.

              Thanks,
              S. Rao, MD


              On Wed, Aug 17, 2016 at 12:34 PM, Steven Mannis <shmannis@gmail.com> wrote:
              · Can you please review dr B    charts And find out what the issue is ASAP. Thanks. Let me know

                Sent from my iPhone



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                                           54

Gmail - Psych Provider termination                                        https ://mail.google.com/mail/u/O?ik=8 77 cd481 b7&view=pt&search=all. ..



                Begin forwarded message:


                       From: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
                       Date: August 17, 2016 at 7:19:53 PM GMT+3
                       To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com"
                       <steve@cpmedgroup.com>
                       Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
                       Subject: Psych Provider termination


                       Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B           by
                       other psychiatrists, nursing staff, and deputies. While he is seeing 25 patients in 2-3 hours and can
                       be seen as productive, the quality issues deal with abrupt changes of medications, interactions with
                       inmates that increase adverse events, and lack of time spent with patients. There are a number of
                       individuals who have observed Dr. B          and feel he is dangerous with his clinical approach.
                       Please remove Dr. B         from the schedule. Thank you.

                       Alfred Joshua MD, MBA, FAAEM
                       Chief Medical Officer, Sheriff's Department
                       San Diego County



         Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org>                              Wed, Aug 17, 2016 at 2:24 PM
         To: Steven Mannis <shmannis@gmail.com>
         Cc: "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Lee, Barbara" <Barbara.Lee@sdsheriff.org>, "Abellar, Jose"
         <Jose.Abellar@sdsheriff.org>

           I apologize for the bluntness but what you are asking for is the responsibility of CPMG. In our other contracts, the
           owner of the contract acts as the medical director or designates a medical director that reviews the performance of all
           their providers for quality of care and productivity and has constant communication with facilities so it is reviewed on
           an ongoing basis. There is a proactive effort to provide the best service, create an infrastructure to monitor own staff,
           minimize adverse events and provide solutions. This has not been happening with CPMG. CPMG is acting as if the
           providers have the contractual benefits of Sheriff's employees. The reason we contracted for mental health providers
           vs. hiring psychiatrists directly is because we wanted a group with expertise in mental health who can provide the best
           clinical care to patients across our system. You have not empowered your medical directors to execute on holding
           psychiatrists accountable for quality and productivity. As a result, Barbara and I have had to do your job. Your own
           medical directors have stated to us that they do not have the ability to hold providers accountable. This is deeply
           concerning. The future of mental health in the Sheriff's department requires full time psychiatrists and Nurse
           Practitioners who have ownership of facility and quality and productivity is strictly maintained by the owner directly or
           by designee. The current environment in corrections does not afford us the luxury of having a staffing or locums model
           which it appears is CPMG's model.

           Alfred Joshua MD, MBA, FAAEM
           Chief Medical Officer, Sheriff's Department
           San Diego County

           > On Aug 17, 2016, at 1:59 PM, Steven Mannis <shmannis@gmail.com> wrote:
           >
           > Tonight will be his last shift then. He will be removed from all other shifts. It is impossible to review every single
           psychiatrist chart. If there are complaints or concerns about a provider my director and I need to know about these
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           heard of complaints about Dr. B
           >
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           >
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           >>



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Gmail - Psych Provider termination                                        https ://mail.google.com/mail/u/O?ik=8 77 cd481 b7 &view=pt&search=all. ..



           » I want him removed immediately. I apologize but as you are the owner of the contract, the control for quality of care
           issues is lacking and as CMO I am forced to enforce quality of the mental health care provided to inmates to protect
           the Sheriff's department. I believe you are confusing productivity for quality as evidenced by the QA/QI report which
           did not meet the requirements of what the contract asked for. CPMG lack of control on the psychiatrists and lack of
           standardization for clinical practices has put the department at extreme risk from a legal standpoint and I will not
           hesitate to take actions unilaterally based on the failure to correct clinical care issues.
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           » Chief Medical Officer, Sheriff's Department
           » San Diego County
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           >>>
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           » » Alfred Joshua MD, MBA, FAAEM
           » » Chief Medical Officer, Sheriff's Department
           »>> San Diego County


         Lee, Barbara <Barbara.Lee@sdsheriff.org>                                             Wed, Aug 17, 2016 at 2:26 PM
         To: Steven Mannis <shmannis@gmail.com>
         Cc: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>,
         "Abellar, Jose" <Jose.Abellar@sdsheriff.org>

            Dr. Mannis,

            Dr. Rao has been involved with issues related to Dr. B         To be frank and as I shared this with you during our
            phone conversation last week, Dr. Rao and Dr. Badre have expressed that any concerns they have related to
            provider(s) have fallen on deaf ears. You allegedly have not given them autonomy to make decisions about providers
            and therefore, any corrective action that needs to happen does not happen and not enforced. The providers are
            generally operating as independent contractors with little regard for our department's mission. I am told that some are
            unaware of what that is as you are allegedly not meeting or communicating with them as a group. It is important we
            have a meeting with the providers after you return from vacation so we can have these discussions. I also ask that
            you please make certain there are no pharmaceutical representatives invited to that meeting especially if County staff
            are to be present. Let's work together to improve our mental health program. We want our providers committed not
            only towards productivity, but also towards an enhanced quality of care environment.

            Please let me know if you have any questions. Talk to you soon.

            Barbara

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            >
            >Tonight will be his last shift then. He will be removed from all other shifts. It is impossible to review every single
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           >
           > Sent from my iPhone
           >
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           >>>>
           » » Alfred Joshua MD, MBA, FAAEM
           » » Chief Medical Officer, Sheriff's Department
           » » San Diego County


          Steven Mannis <shmannis@gmail.com>                                                           Wed, Aug 17, 2016 at 11:08 PM
          To: "Sanjay S. Rao" <ssraomd@gmail.com>
          Cc: Nicolas Badre <nicolas.badre@gmail.com>

            Apparently this has been going on for a while and I have not heard about any issues .you and Nico do have the power
            to make providers accountable for their care.if you want some one dismissed for their poor quality of care I can
            dismiss them or give them less shifts. you just need to let me know what actions you want taken. We have to be
            proactive in our care but I need communication between you two and me

            Sent from my iPhone

            On Aug 17, 2016, at 11 :17 PM, Sanjay S. Rao <ssraomd@gmail.com> wrote:


                I consulted with regular providers at Las Colinas and reviewed some charts of Dr. B         The quality issues that
                Dr. Joshua referenced about Dr. B         are true, unfortunately.

                Let me kif there is anything else I can do.

                Thanks,
                S. Rao, MD




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                On Wed, Aug 17, 2016 at 12:34 PM, Steven Mannis <shmannis@gmail.com> wrote:
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                 Sent from my iPhone

                 Begin forwarded message:


                        From: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
                        Date: August 17, 2016 at 7:19:53 PM GMT+3
                        To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com"
                        <steve@cpmedgroup.com>
                        Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
                        Subject: Psych Provider termination


                        Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B           by
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                        Alfred Joshua MD, MBA, FAAEM
                        Chief Medical Officer, Sheriff's Department
                        San Diego County



          Steven Mannis <shmannis@gmail.com>                                                  Wed, Aug 17, 2016at11:28 PM
          To: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
          Cc: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>,
          "Abellar, Jose" <Jose.Abellar@sdsheriff.org>

           This is not completely true as Dr. Naranjo and Dr.         are no longer working because they did not meet the
           standards of Cpmg The group we have now is committed to high quality of care I'm happy to work together and will
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            Sent from my iPhone

            >On Aug 18, 2016, at 12:26 AM, Lee, Barbara <Barbara.Lee@sdsheriff.org> wrote:
            >
            >Dr. Mannis,
            >
            > Dr. Rao has been involved with issues related to Dr. B         To be frank and as I shared this with you during our
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            provider(s) have fallen on deaf ears. You allegedly have not given them autonomy to make decisions about providers
            and therefore, any corrective action that needs to happen does not happen and not enforced. The providers are
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            unaware of what that is as you are allegedly not meeting or communicating with them as a group. It is important we
            have a meeting with the providers after you return from vacation so we can have these discussions. I also ask that
            you please make certain there are no pharmaceutical representatives invited to that meeting especially if County staff
            are to be present. Let's work together to improve our mental health program. We want our providers committed not
            only towards productivity, but also towards an enhanced quality of care environment.
            >
            > Please let me know if you have any questions. Talk to you soon.
            >
            >Barbara



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           >
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           » Sent from my iPhone
           >>
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           »> I want him removed immediately. I apologize but as you are the owner of the contract, the control for quality of
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           >>>>
           »»>On Aug 17, 2016, at 7:19 PM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
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           »>>> Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr. B                by other
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           »»>Alfred Joshua MD, MBA, FAAEM
           »»> Chief Medical Officer, Sheriff's Department
           >>>>> San Diego County


          Sanjay S. Rao <ssraomd@gmail.com>                                                            Wed, Aug 17, 2016 at 11:51 PM
          To: Steven Mannis <shmannis@gmail.com>
          Cc: Nicolas Badre <nicolas.badre@gmail.com>

           Steve,
           Did you check your voicemail about a week ago? I called and left a message about B              as soon as I heard about
           an issue with him, which was the first time I heard anything myself.


           On Wed, Aug 17, 2016at11:08 PM, Steven Mannis <shmannis@gmail.com> wrote:
            Apparently this has been going on for a while and I have not heard about any issues .you and Nico do have the
            power to make providers accountable for their care.if you want some one dismissed for their poor quality of care I
            can dismiss them or give them less shifts. you just need to let me know what actions you want taken. We have to
            be proactive in our care but I need communication between you two and me




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              Sent from my iPhone

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                     I consulted with regular providers at Las Colinas and reviewed some charts of Dr. B           The quality
                     issues that Dr. Joshua referenced about Dr. B        are true, unfortunately.

                     Let me kif there is anything else I can do.

                     Thanks,
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                     On Wed, Aug 17, 2016 at 12:34 PM, Steven Mannis <shmannis@gmail.com> wrote:
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                       SentfrommyiPhone

                       Begin forwarded message:


                              From: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
                              Date: August 17, 2016 at 7:19:53 PM GMT+3
                              To: "shmannis@gmail.com" <shmannis@gmail.com>, "steve@cpmedgroup.com"
                              <steve@cpmedgroup.com>
                              Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
                              Subject: Psych Provider termination


                              Hi Dr. Mannis there have been a number of quality of care issues brought up about Dr.
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                              Alfred Joshua MD, MBA, FAAEM
                              Chief Medical Officer, Sheriff's Department
                              San Diego County




          Steven Mannis <shmannis@gmail.com>                                                            Thu, Aug 18, 2016 at 10:59 AM
          To: "Sanjay S. Rao" <ssraomd@gmail.com>
          Cc: Nicolas Badre <nicolas.badre@gmail.com>

            I did not get the message. We will all get together when I return to go over Qi QA issues

            Sent from my iPhone

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              Steve,
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Gmail - Psych Provider termination                                         https ://mail.google.com/mail/u/O?ik=877cd48 l b7 &view=pt&search=all ...



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                                San Diego County



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          To: Steven Mannis <shmannis@gmail.com>, "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
          Cc: "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Abellar, Jose" <Jose.Abellar@sdsheriff.org>




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                                           54
Gmail - Psych Provider termination                                        https ://mail.google.com/mail/u/O?ik=877cd481 b7 &view=pt&search=all...



           Hi Dr. Mannis, I don't know if you saw this article yesterday. In both suicides and the water intoxication death, CPMG
           providers had seen the inmate/patient and it was based on their clinical judgment that the inmate was not placed in
           the inmate safety program, PSU, or a special alert placed on a previous diagnosis. Again this speaks to the quality of
           training and the providers CPMG has assembled for the Sheriff's department. Your own psychiatrists have stated that
           you do not empower them to ensure quality. As you can clearly see, CPMG has put the Sheriff's department at risk
           with the lack of clinical quality assurance and training.

           https: //ww2. kqed. o rg/news/2016/08/22/when-jai 1-beco mes-a-death-sente nee/

           Alfred A. Joshua MD, MBA, FAAEM
           Chief Medical Officer, Sheriff's Department
           San Diego County




           -----Original Message-----
           From: Steven Mannis [mailto:shmannis@gmail.com]
           Sent: Wednesday, August 17, 2016 11:31 PM
           To: Lee, Barbara
           Cc: Joshua, Alfred (MD); steve@cpmedgroup.com; Abellar, Jose
           Subject: Re: Psych Provider termination

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           not have any pharmaceutical representatives at the next meeting

           Sent from my iPhone

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           >
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           » Sent from my iPhone
           >>
           »> On Aug 17, 2016, at 11 :38 PM, Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org> wrote:
           >>>



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15 of35                                                                                                                       1/31/2019, 1:56 PM
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           »> I want him removed immediately. I apologize but as you are the owner of the contract, the control for quality of
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           »>Alfred Joshua MD, MBA, FAAEM
           »> Chief Medical Officer, Sheriff's Department San Diego County
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           »>>On Aug 17, 2016, at 12:39 PM, Steven Mannis <shmannis@gmail.com> wrote:
           >>>>
           » » I will need more details before I remove him. I am out of town until the 26th. Please contact dr Rao so we may
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           »»>Alfred Joshua MD, MBA, FAAEM
           »»> Chief Medical Officer, Sheriff's Department San Diego County


          Steven Mannis <shmannis@gmail.com>                                                 Fri, Aug 26, 2016 at 3:28 PM
          To: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>
          Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Abellar, Jose"
          <Jose.Abellar@sdsheriff.org>
          Bee: Nicolas Badre <nicolas.badre@gmail.com>, "Sanjay S. Rao" <ssraomd@gmail.com>

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           l the quality of training and the providers CPMG has assembled for the Sheriff's department. Your own psychiatrists
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              https://ww2.kqed.org/news/2016/08/22/when-jail-becomes-a-death-sentence/

              Alfred A. Joshua MD, MBA, FAAEM
              Chief Medical Officer, Sheriff's Department
              San Diego County




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                adverse events, and lack of time spent with patients. There are a number of individuals who have observed Dr.
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            1
                you .
            .   >>>>>
                »»>Alfred Joshua MD, MBA, FAAEM
            :   »»> Chief Medical Officer, Sheriff's Department San Diego County




           Steve


          Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org>                                      Fri, Aug 26, 2016 at 11 :56 PM
          To: Steven Mannis <shmannis@gmail.com>
          Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Abellar, Jose"
          <Jose.Abellar@sdsheriff.org>, "Booth, Nancy" <Nancy.Booth@sdsheriff.org>, "Hernandez, Mike"
          <Mike.Hernandez@sdsheriff.org>, "Miller, Rich" <Richard.Miller@sdsheriff.org>

           This is not a blame issue but a serious problem with the quality of CPMG providers due to lack of clinical oversight
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            known to be a poor fit for corrections. It is aggravating when you have an owner who is not focused on the quality of
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                >
                »On Aug 17, 2016, at 1:59 PM, Steven Mannis <shmannis@gmail.com> wrote:
                >>
                » Tonight will be his last shift then. He will be removed from all other shifts. It is impossible to review every single
                psychiatrist chart. If there are complaints or concerns about a provider my director and I need to know about
                these immediately so we we can review these charts for quality assurance and improvement purposes. This is
                the first I've heard of complaints about Dr. B
                >>
                >> Sent from my iPhone
                >>
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              Steve



          Nicolas Badre <nicolas.badre@gmail.com>                                                          Sat, Aug 27, 2016 at 8:54 AM
          To: Steven Mannis <shmannis@gmail.com>

            I wonder if the article is under the belief that "nurse practitioners" do not count as psychiatrist.
            Here are some other thoughts:
            1. The article speaks to the problem of nurses being awful about obtaining outside records. Nurses still almost never
            call outside pharmacies to obtain immediate accurate information about outside prescriptions.
            2. San Diego jails only have EOH, and SC for suicidal patients. In LA, there is also High Observation which is a
            housing option without two tiers, with 10 hrs of therapy per week, and comprehensive 1hr intake. In Orange County all
            High Observation patients have safety clothing and blankets.
            3. Both patients being placed in Ad Seg was a mistake not done by the Psychiatrist but by sworn. In many jail


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           systems, mentally ill patients in Ad Seg are followed by an MHC on a daily basis.
           4. The article speaks to how little therapy there is in our jails. LA has 210 therapists, yet we have -10. We have asked
           Dr. Joshua for more therapists on multiple occasions.
           5. Regarding the water intoxication: we got rid of Dr. Naranjo but to his respect, the Patton discharge summary are
           nursing discharge summary so the fault should really be on nursing. Furthermore, it is incomprehensible that the PSU
           is the only place where we can regulate water intake.
           6. Regarding QA regarding the suicide attempts: we have reviewed them at the journal club. As well, Dr. Joshua has
           never invited us to comment on his own review system.

           Hope this helps


           On Fri, Aug 26, 2016 at 3:28 PM, Steven Mannis <shmannis@gmail.com> wrote:
             According to the article, several inmates were not seen by psychiatry ( dont know if this is accurate). It also states
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                Alfred A Joshua MD, MBA, FAAEM
                Chief Medical Officer, Sheriffs Department
                San Diego County




                -----Original Message-----
                From: Steven Mannis [mailto:shmannis@gmail.com]
                Sent: Wednesday, August 17, 2016 11:31 PM
                To: Lee, Barbara
                Cc: Joshua, Alfred (MD); steve@cpmedgroup.com; Abellar, Jose
                Subject: Re: Psych Provider termination

                This is not completely true as Dr. Naranjo and Dr.           are no longer working because they did not meet the
                standards of Cpmg The group we have now is committed to high quality of care I'm happy to work together and
                will not have any pharmaceutical representatives at the next meeting

                Sent from my iPhone

                >On Aug 18, 2016, at 12:26 AM, Lee, Barbara <Barbara.Lee@sdsheriff.org> wrote:
                >
                > Dr. Mannis,
                >
                > Dr. Rao has been involved with issues related to Dr. B        To be frank and as I shared this with you during
                our phone conversation last week, Dr. Rao and Dr. Badre have expressed that any concerns they have related to
                provider(s) have fallen on deaf ears. You allegedly have not given them autonomy to make decisions about
                providers and therefore, any corrective action that needs to happen does not happen and not enforced. The



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          Steven Mannis <shmannis@gmail.com>                                                              Sat, Aug 27, 2016 at4:46 PM
          To: Nicolas Bad re <nicolas.badre@gmail.com>, "Sanjay S. Rao" <ssraomd@gmail.com>

           did we do a review of            and         and if so, what were our conclusions thanks
           ---------- Forwarded message----------
           From: Joshua, Alfred (MD) <Alfred.Joshua@sdsheriff.org>
           Date: Fri, Aug 26, 2016at11:56 PM
           Subject: Re: Psych Provider termination
           To: Steven Mannis <shmannis@gmail.com>
           Cc: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>, "steve@cpmedgroup.com" <steve@cpmedgroup.com>, "Abellar,
           Jose" <Jose.Abellar@sdsheriff.org>, "Booth, Nancy" <Nancy.Booth@sdsheriff.org>, "Hernandez, Mike"
           <Mike.Hernandez@sdsheriff.org>, "Miller, Rich" <Richard.Miller@sdsheriff.org>


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            Chief Medical Officer, Sheriff's Department
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              Steve




            Steve


          Nicolas Badre <nicolas.badre@gmail.com>                                        Sun, Aug 28, 2016 at 4:24 PM
          To: Steven Mannis <shmannis@gmail.com>
          Cc: "Sanjay S. Rao" <ssraomd@gmail.com>, Anne Redburn <Anne.E.Redburn@alumni.dmu.edu>

            We reviewed              Nunez,                             at our journal club in January 2016 to which we invited Dr.
            Joshua (I believe).

            Here were some of our conclusions:
            1.              our opiate/drug withdrawal program is not comprehensive enough - this was shared with Dr. Joshua
            2. Nunez: state hospital discharge needs to be reviewed by MD and Nursing (nursing still doesn't do it consistently),
            we fired Naranjo for the MD part
            3.         no easy conclusion, I recommended that folks with multiple inmate safety program stay never be switch to
            prn follow-up. We also asked Dr. Joshua for MHC for more therapy, still has happened.
            4.        asked providers to consider charges in risk assessment as well as Ad Seg status
            5.             1. asked all safety cell eval to have a suicide risk assessment; 2.         was pressured by
            gatekeeper to clear; 3. EOH is punishing so she didn't want to put him there (this could be fixed if Dr. Joshua added
            therapy to patients in ISP).

                     happened right after our last journal club (5/24): It is this incident which has made us be a lot more
            aggressive about removing mentally patients out of Ad Seg. However this is difficulty because Dr. Joshua hasn't given
            us more 6th floor space, despite numerous requests.


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                 Date: September 13, 2016 at 11 :54:32 AM PDT
                 To: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
                 Subject: CPMG meeting

                 Our next meeting to discuss cases, go over training, and for you to present is Sept 28th. Drinks and
                 food will be provided.




                                                                    Where:

                                                               Del Mar Motor Cars

                                                              3444 Tripp Ct
                                                                  Ste A
                                                           San Diego, CA 92121



                                                                  When:
                                                      Wednesday, September 28th, 2016
                                                                at 6:30 pm



                 Steven Mannis M.D

                 Correctional Physicians Medical Group, Inc.

                 3525 Del Mar Heights Rd. Ste 231

                 San Diego, CA 92130

                 Tel: (858) 480-5276



         Lee, Barbara <Barbara.Lee@sdsheriff.org>                                                        Mon, Sep 19, 2016 at6:13 PM
         To: Steve Mannis <steve@cpmedgroup.com>
         Cc: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>


          Dr. Mannis,




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          Given the current climate that we are operating under and the impending lawsuits, Dr. Joshua and I can and are
          being held personally liable for retaining providers for which there have been adverse outcomes. We will discuss
          this when we meet this week but want to let you know in advance that I will be asking for the removal of several
          providers. I realize the impact this will have on our operation, but I have no choice but to do so.




          Barbara

          From: cpmedgroup@gmail.com [mailto:cpmedgroup@gmail.com] On Behalf Of Steve Mannis
          Sent: Tuesday, September 13, 2016 11:55 AM
          To: Joshua, Alfred (MD); Lee, Barbara
          Subject: CPMG meeting



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                                                                    Ste A
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          San Diego, CA 92130

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         Steve Mannis <steve@cpmedgroup.com>                                              Tue, Sep 20, 2016 at 10:13 AM
         To: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
         Cc: Steve Mannis <steve@cpmedgroup.com>, "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "Sanjay S. Rao"
         <ssraomd@gmail.com>, Nicolas Badre <nicolas.badre@gmail.com>

          These are the types of cases that we do review for our QI when we are informed about them. I don't think it would be
          realistic to review 100% of safety cell cases. I appreciate you bringing them to our attention and we will review them
          as soon as you send us the booking numbers.
           Please also let me know which providers are asking to change risk designations. CPMG needs to be in the loop for



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          these types of problems. I have requested that the supervising nurses inform me of these types of problems but have
          yet to receive any of this information.
          Dr. Goldstein has agreed to train new providers and other providers needing additional training. I don't think we
          should automatically remove providers who have adverse outcomes but understand that some providers may not be
          able to improve or make changes to their practices.

          Steven Mannis M.D
          Correctional Physicians Medical Group, Inc.
          3525 Del Mar Heights Rd. Ste 231
          San Diego, CA 92130
          Tel: (858) 480-5276

          On Mon, Sep 19, 2016 at 6: 13 PM, Lee, Barbara <Barbara.Lee@sdsheriff.org> wrote:

            Dr. Mannis,




            Given the current climate that we are operating under and the impending lawsuits, Dr. Joshua and I can and are
            being held personally liable for retaining providers for which there have been adverse outcomes. We will
            discuss this when we meet this week but want to let you know in advance that I will be asking for the removal of
            several providers. I realize the impact this will have on our operation, but I have no choice but to do so.



            Barbara

            From: cpmedgroup@gmail.com [mailto:cpmedgroup@gmail.com] On Behalf Of Steve Mannis
            Sent: Tuesday, September 13, 2016 11:55 AM
            To: Joshua, Alfred (MD); Lee, Barbara
            Subject: CPMG meeting


            Our next meeting to discuss cases, go over training, and for you to present is Sept 28th. Drinks and food will be
            provided.




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5 of37                                                                                                                        1/31/2019, 4:32 PM
                                                        EXHIBIT 4 - 028
     Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11030 Page 30 of
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Gmail - review of suicides                                                              https ://mail.goo gle. com/mail/u/2 ?ik=7 6 81 accd8b&view=pt&search=all ...




         M Gmail                                                                                         Steve Mannis <cpmedgroup@gmail.com>



          review of suicides
          2 messages

          Steven Mannis <shmannis@gmail.com>                                                                                Tue, Sep 20, 2016 at 1:42 PM
          To: Steve Mannis <cpmedgroup@gmail.com>


            Cc: "Sanjay S. Rao" <ssraomd@gmail.com>, Anne Redburn.E.Redburn@alumni.dmu.edu>

              We reviewed                    Nunez,                                    at our journal club in January 2016

              Here were some of our conclusions:
              1.               our opiate/drug withdrawal program is not comprehensive enough - this was shared with
              administration
              2. Nunez: state hospital discharge needs to be reviewed by MD and Nursing (nursing still doesn't do it
              consistently), we fired Naranjo for the MD part
              3.          no easy conclusion, I recommended that folks with multiple inmate safety program stay never be switch
              to prn follow-up. MHC for more therapy, is needed.
              4.         asked providers to consider charges in risk assessment as well as Ad Seg status
              5.              1. asked all safety cell eval to have a suicide risk assessment; 2.       was pressured by
              gatekeeper to clear; 3. EOH is punishing so she didn't want to put him there Therapy needed for patients in ISP

                       happened right after our last journal club (5/24): It is this incident which has made us be a lot more
              aggressive about removing mentally patients out of Ad Seg. However this is difficulty because of lack of 6th floor
              space.




          Claire Wilson <cpmedgroup@gmail.com>                                            Tue, Sep 20, 2016 at 1:51 PM
          To: "Sanjay S. Rao" <ssraomd@gmail.com>, Anne Redburn <Anne.E.Redburn@alumni.dmu.edu>

            For your review.

            Claire Wilson I Human Resources Coordinator
            Correctional Physicians Medical Group, Inc.
            3525 Del Mar Heights Rd. Ste 231
            San Diego, CA 92130
            Tel: (858) 480-5276
            Fax: (858) 756-5198

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            recipient, please contact the sender by reply email and destroy all copies of the original message.

            ---------- Forwarded message----------
            From: Steven Mannis <shmannis@gmail.com>
            Date: Tue, Sep 20, 2016 at 1:42 PM
            Subject: review of suicides
            To: Steve Mannis <cpmedgroup@gmail.com>




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1 of2                                                                                                                                                  1/31/2019, 4:46 PM
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Gmail - psychogenic polydipsia case                                        https ://mail.goo gle.com/mail/u/2?ik=7 681 aced& b&view=pt&search=all ...




         M Gmail                                                                           Steve Mannis <cpmedgroup@gmail.com>



         psychogenic polydipsia case
         6 messages

         Steve Mannis <steve@cpmedgroup.com>                                                            Tue, Sep 20, 2016 at 10:46 PM
         To: Nicolas Badre <nicolas.badre@gmail.com>, "Sanjay S. Rao" <ssraomd@gmail.com>

           Did either of you review Dr. Hansen's care of this patient and if so, what was the evaluation of her care?
           Steven Mannis M.D
           Correctional Physicians Medical Group, Inc.
           3525 Del Mar Heights Rd. Ste 231
           San Diego, CA 92130
           Tel: (858) 480-5276


         Nicolas Badre <nicolas.badre@gmail.com>                                                         Wed, Sep 21, 2016 at 7:00 AM
         To: Steve Mannis <steve@cpmedgroup.com>
         Cc: "Sanjay S. Rao" <ssraomd@gmail.com>

           We reviewed the entire case and have made numerous comments. Here are
           some of them:
           1. We asked for nurses to review the DSH nursing de summary - still
           not done till today
           2. We reviewed all the DSH terms and protocols at the journal club in January
           3. We updated our orientation package to reflect more importance on
           the DSH terms/protocol
           4. We have asked the county to update their orientation (done by
           Carlos) - still not done till today
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           6. We asked for Dr. Naranjo to be fired
           7. Once I became PSU doc, I asked nursing to schedule a chart review
           for me for all returnees
           8. Prior to becoming PSU doc, I asked nursing to schedule all
           returnees for intake with me
           9. We asked sworn to give us more options for limited water housing -
           still not done till today
           10. I keep a file with all the 2970s for part-timers to know my thoughts on them
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           length of stay of the 2970s divided in half.

            In regards to Dr. Hansen personally, we discussed our thoughts at the
            dinner we had recently with Anne and Sanjay. My feeling is that there
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            couldn't accommodate for his needs. His condition is not a psychiatric
            emergency, and it makes sense for her to assume that it had been
            addressed as he was placed on the mental health floor by choice.

            Thanks,
            Nico


            On 9/20/16, Steve Mannis <steve@cpmedgroup.com> wrote:
            > Did either of you review Dr. Hansen's care of this patient and if so, what
            > was the evaluation of her care?
            > Steven Mannis M.D



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                                                                      Where:

                                                                Del Mar Motor Cars

                                                                   3444 Tripp Ct
                                                                       Ste A
                                                                San Diego, CA 92121

                                                                      When:
                                                           Wednesday, September 28th, 2016
                                                                     at 6:30 pm



             Steven Mannis M.D

             Correctional Physicians Medical Group, Inc.

             3525 Del Mar Heights Rd. Ste 231

             San Diego, CA 92130

             Tel: (858) 480-5276




         Lee, Barbara <Barbara.Lee@sdsheriff.org>                                             Wed, Sep 21, 2016 at 3:20 PM
         To: Steve Mannis <steve@cpmedgroup.com>
         Cc: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "Sanjay S. Rao" <ssraomd@gmail.com>, Nicolas Badre
         <nicolas.badre@gmail.com>


          Dr. Mannis,



          Attached is a summary of our meeting today.         For your review and action. Please let me know if you have any
          questions.



          Thank you,

           Barbara




          Barbara Lee
          Medical Services Administrator

          SherifPs Department, Medical Services Division

           5530 Overland Ave., Ste. 370

           San Diego, CA 92123

          Mail Stop 0-317




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6 of37                                                                                                                        1/31/2019, 4:32 PM
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                                      54




      MEETING SUMMARY
      Date: September 21, 2016
      Attendance: [Sheriff] - Barbara, Dr. Joshua, Dr. Goldstein, Nancy
       [CPMG] - Dr. Mannis


      Below is a summary of items discussed.
      Incidents involving Provider (Quality of Care Issues)
      The Sheriff's Medical Services Administrator or Chief Medical Officer or their designee
      will notify Dr. Mannis and the CPMG medical director. A review process as follows will
      immediately take place:

      In the event of an inmate death or serious incident where the provider's clinical
      judgment may be at issue, the provider will be removed temporarily from the schedule
      pending review.     CPMG will temporarily remove the provider from the schedule.
      CPMG will notify the provider.

      CPMG will conduct a review of the incident and submit its documentation of the analysis
      and recommended corrective actions to the Sheriff's Chief Medical Officer.

      Within 7 business days of the date or knowledge of the incident, CPMG and Sheriff's
      Medical Services Administration will discuss the case and any corrective actions,
      including the provider's continued employment status.

      CPMG will notify the provider of the disposition.

      Incidents involving Provider's failure to meet standards of behavior
      The Sheriffs Medical Services Administrator or Chief Medical Officer or their designee
      will notify Dr. Mannis and the CPMG medical director.

      The provider may remain on the schedule. CPMG is to discuss the incident with the
      Provider, document the discussion, and report back to the Sheriff's Chief Medical
      Officer. Repeated violations may result in removal of the Provider.

      Please note that sworn command alone may exercise its right to revoke the Provider's
      facility clearance. This can either be unique to the facility or to all facilities. Sheriff's
      Medical Services Administration will discuss this matter with sworn command on a
      case-by-case basis.

      Psychiatric Peer Review - Inmate Safety Program
      The form presented by CPMG is acceptable. One minor recommended change is to
      add a line indicating "Reason for Review" and a line for "Corrective Actions".

      Chart Check Reviews
      Volume - 5% patients seen.




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                                      54




      QA/QI Process
      The forms presented by CPMG are acceptable. CPMG will be responsible for
      tabulating and providing statistical analysis which will be included in the quarterly report
      to Sheriff's Medical Services Administration. CPMG is responsible for maintaining
      copies of the peer reviews on the individual Providers.

      Nurse Practitioners Conducting Initial Follow-Ups
      Tabled. The Sheriff's Chief Medical Officer will take this under consideration.

      Licensed Psychologist
      Tabled.                    has requested additional days of Thursday and Friday.
      Sherifrs Medical Services Administration has identified the gaps in the system to be on
      weekends. The Sheriff's Chief Medical Officer will determine need and let CPMG know.

      Discharge Summaries
      Discharge summaries from Patton State Hospital are not reviewed by the nurses.
      Psychiatrists requests that the nurses prepare a summary (medications, diagnosis, and
      special conditions) to assist the psychiatrist doing the chart check. Nursing Director will
      assess the situation and report back with recommendations or plan.

      VDF Psychiatrist
      CPMG will seek a replacement for                    In the interim,               will work
      with her on the cases discussed at MDG.

      NEXT STEPS

      CPMG to complete Peer Reviews
        1.




         2.




         3. CPMG to arrange follow-up meeting to discuss                        Dr. Hansen,




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           !ID Summary of Meeting 9.20.16.docx

         Nicolas Badre <nicolas.badre@gmail.com>                                                               Wed, Sep 21, 2016 at 3:34 PM
         Cc: Steve Mannis <steve@cpmedgroup.com>, "Sanjay S. Rao" <ssraomd@gmail.com>

          I am worried that completing discoverable reviews on our own adverse events increases our liability. I think that we
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           : questions.



            Thank you,

            Barbara




            Barbara Lee
            Medical Services Administrator

            Sheriffs Department, Medical Services Division

            5530 Overland Ave., Ste. 370

            San Diego, CA 9212 3

            Mail Stop 0-317

            Desk Phone (858) 97 4-5966; Cell Phone (619) 876-0987; Fax (858) 97 4-5870




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            From: cpmedgroup@gmail.com [mailto:cpmedgroup@gmail.com] On Behalf Of Steve Mannis
            Sent: Tuesday, September 20, 2016 10:14 AM
            To: Lee, Barbara
            Cc: Steve Mannis; Joshua, Alfred (MD); Sanjay S. Rao; Nicolas Badre
            Subject: Re: CPMG meeting




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9 of37                                                                                                                                  1/31/2019, 4:32 PM
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             Sent: Tuesday, September 13, 2016 11:55 AM
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             Our next meeting to discuss cases, go over training, and for you to present is Sept 28th. Drinks and food will be
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                                                                    Where:

                                                              Del Mar Motor Cars

                                                                3444 Tripp Ct
                                                                    Ste A
                                                             San Diego, CA 92121

                                                                  When:
                                                      Wednesday, September 28th, 2016
                                                                at 6:30 pm



             Steven Mannis M.D

             Correctional Physicians Medical Group, Inc.

             3525 Del Mar Heights Rd. Ste 231

             San Diego, CA 92130

             Tel: (858) 480-5276




          Steve Mannis <steve@cpmedgroup.com>                                                         Wed, Sep 21, 2016 at 5:23 PM
          To: Nicolas Badre <nicolas.badre@gmail.com>
          Cc: Steve Mannis <steve@cpmedgroup.com>, "Sanjay S. Rao" <ssraomd@gmail.com>

           I will clarify and make sure the county agrees that this all under M and M and is non- discoverable.




           Nico, please review Hansen's case of the psychogenic polydipsia patient and please review some random charts of
           hers




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11 of37                                                                                                                     1/31/2019, 4:32 PM
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          I will start correlating the data received aQA/QI

          The County and the Medical Dept. is under pressure due to so many adverse events. We have to make sure we are
          doing everything on our end to improve the quality of care of the providers and showing this with data... If we feel that
          a provider is not providing adequate care, we will have to remove that provider. As in the past, you will need to advise
          me but it is not easy removing someone without a replacement unless it is putting patients at risk.

          Thank you both for your cooperation. Please do the reviews as soon as possible as there will be a meeting with the
          Sheriff's Dept. concerning       , Hansen,

          Steven Mannis M.D
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                                                                    Where:

                                                               Del Mar Motor Cars

                                                                 3444 Tripp Ct
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                                                              San Diego, CA 92121

                                                                   When:
                                                       Wednesday, September 28th, 2016
                                                                 at 6:30 pm



               Steven Mannis M.D

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          Cc: Steve Mannis <steve@cpmedgroup.com>, "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "Sanjay S. Rao"
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            Cc: Steve Mannis; Joshua, Alfred (MD); Sanjay S. Rao; Nicolas Badre
            Subject: Re: CPMG meeting



            These are the types of cases that we do review for our QI when we are informed about them. I don't think it would
            be realistic to review 100% of safety cell cases. I appreciate you bringing them to our attention and we will review



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             Subject: CPMG meeting



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         To: Nicolas Badre <nicolas.badre@gmail.com>
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           Well reiterated, Nico. Thank you.

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              > Did either of you review Dr. Hansen's care of this patient and if so, what
              >was the evaluation of her care?
              >Steven Mannis M.D
              >Correctional Physicians Medical Group, Inc.
              > 3525 Del Mar Heights Rd. Ste 231
              >San Diego, CA 92130
              > Tel: (858) 480-5276
              >


          Steve Mannis <steve@cpmedgroup.com>                                                            Wed, Sep 21, 2016 at 5:54 PM



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2 of7                                                                                                                            1/31/2019, 2:37 PM
                                                            EXHIBIT 4 - 040
     Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11042 Page 42 of
                                           54
Gmail - psychogenic polydipsia case                                        https://mail.google.com/mail/u/2?ik=7681accd8b&view=pt&search=all ...


         To: "Sanjay S. Rao" <ssraomd@gmail.com>
         Cc: Nicolas Badre <nicolas.badre@gmail.com>, Steve Mannis <steve@cpmedgroup.com>

           Isn't the disease psychogenic polydipsia, which is psychiatric in nature until there actual water intoxication which then
           becomes a medical problem. Should there not have been any order by anyone to restrict water?? Who did she
           assume was caring for the patient if Naranjo never actual saw the patient and she was the first provider to evaluate
           this patient. We can always refer to the Medical service if the psychiatrist feels it is a medical problem. We really cant
           assume anything.

           Please fill out a regular chart review form, and your recommendations and actions taken on that form. I will make sure
           it is non discoverable before sending our review to the county.

           I think Hansen is an excellent physician but we need to do a more formal review as to her care. Any case where there
           is a serious adverse event needs to be treated this way.The county wants to have a meeting about her and other
           providers that have had adverse events which I hope you can attend. We dont want to lose her as one of our
           providers. Thanks

           Steven Mannis M.D
           Correctional Physicians Medical Group, Inc.
           3525 Del Mar Heights Rd. Ste 231
           San Diego, CA 92130
           Tel: (858) 480-5276

            On Wed, Sep 21, 2016 at 7:23 AM, Sanjay S. Rao <ssraomd@gmail.com> wrote:

              Well reiterated, Nico. Thank you.


              On Wed, Sep 21, 2016 at 7:00 AM, Nicolas Badre <nicolas.badre@gmail.com> wrote:
               We reviewed the entire case and have made numerous comments. Here are
               some of them:
               1. We asked for nurses to review the DSH nursing de summary - still
               not done till today
               2. We reviewed all the DSH terms and protocols at the journal club in January
               3. We updated our orientation package to reflect more importance on
               the DSH terms/protocol
               4. We have asked the county to update their orientation (done by
               Carlos) - still not done till today
               5. We have asked for a longer period of orientation - still not done till today
               6. We asked for Dr. Naranjo to be fired
               7. Once I became PSU doc, I asked nursing to schedule a chart review
               for me for all returnees
               8. Prior to becoming PSU doc, I asked nursing to schedule all
               returnees for intake with me
               9. We asked sworn to give us more options for limited water housing -
               still not done till today
               10. I keep a file with all the 2970s for part-timers to know my thoughts on them
               11. We met w/ judge Stone, and Public Defender's office and got the
               length of stay of the 2970s divided in half.

                In regards to Dr. Hansen personally, we discussed our thoughts at the
              , dinner we had recently with Anne and Sanjay. My feeling is that there
                was little ways for her to know that 6th floor mental health housing
                couldn't accommodate for his needs. His condition is not a psychiatric
                emergency, and it makes sense for her to assume that it had been
                addressed as he was placed on the mental health floor by choice.

                Thanks,
                Nico



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     Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11043 Page 43 of
                                           54
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                  On 9/20/16, Steve Mannis <steve@cpmedgroup.com> wrote:
                  > Did either of you review Dr. Hansen's care of this patient and if so, what
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                  >Steven Mannis M.D
                  > Correctional Physicians Medical Group, Inc.
                  > 3525 Del Mar Heights Rd. Ste 231
                  >San Diego, CA 92130
            r   ! >Tel: (858) 480-5276
                  >



         Nicolas Badre <nicolas.badre@gmail.com>                                                        Wed, Sep 21, 2016 at 9:57 PM
         To: Steve Mannis <steve@cpmedgroup.com>
         Cc: "Sanjay S. Rao" <ssraomd@gmail.com>

           Psychogenic polydipsia is a life long diagnosis. We don't prevent those people from having access to a faucet
           indefinitely in the real world. Once they are discharge from the hospital they are good. A historical diagnosis of
           psychogenic polydispsia doesn't raise a flag of "emergency" unless there is a reason to think so. Also if it is such an
           emergency why is he being scheduled 4 days after his arrival from the "hospital"?

           Hansen is simply not at significant fault IMHO in this case; it is the nurses who made the housing request for 6th floor,
           the nurses who decided not to read the "nursing" discharge summary, the nurses who refused to give classification the
           "nursing" de summary due to unfounded HIPAA concerns, Dr. Naranjo for never reading the de summary and signing
           them off, the county for not informing the new doctors of their obscure protocols (e.g.: mental health floor can't
           accommodate water restrictions or all people with a historical diagnoses of psychogenic polydipsia need
           hospitalization).




           On Wed, Sep 21, 2016 at 5:54 PM, Steve Mannis <steve@cpmedgroup.com> wrote:
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            then becomes a medical problem. Should there not have been any order by anyone to restrict water?? Who did
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                Correctional Physicians Medical Group, Inc.
                3525 Del Mar Heights Rd. Ste 231
                San Diego, CA 92130
                Tel: (858) 480-5276

                On Wed, Sep 21, 2016 at 7:23 AM, Sanjay S. Rao <ssraomd@gmail.com> wrote:
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                 I



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                 4. We have asked the county to update their orientation (done by
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                 5. We have asked for a longer period of orientation - still not done till today
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                  Thanks,
                  Nico


                  On 9/20/16, Steve Mannis <steve@cpmedgroup.com> wrote:
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                  > Tel: (858) 480-5276
                  >




         Steve Mannis <steve@cpmedgroup.com>                                                           Thu, Sep 22, 2016 at 3:33 PM
         To: Nicolas Badre <nicolas.badre@gmail.com>
         Cc: Steve Mannis <steve@cpmedgroup.com>, "Sanjay S. Rao" <ssraomd@gmail.com>

           ok. simply review the chart of Hansen and comment on her evaluation and treatment of the patient on the form. You
           could state the above reasons as to why her treatment was appropriate.

           Steven Mannis M.D
           Correctional Physicians Medical Group, Inc.
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                                                                     When:
                                                         Wednesday, September 28th, 2016
                                                                   at 6:30 pm



                  Steven Mannis M.D

                 Correctional Physicians Medical Group, Inc.

                  3525 Del Mar Heights Rd. Ste 231

                  San Diego, CA 92130

                 Tel: (858) 480-5276




          Steve Mannis <steve@cpmedgroup.com>                                                  Fri, Sep 23, 2016 at 3:33 PM
          To: "Lee, Barbara" <Barbara.Lee@sdsheriff.org>
          Cc: Steve Mannis <steve@cpmedgroup.com>, "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "Sanjay S. Rao"
          <ssraomd@gmail.com>, Nicolas Badre <nicolas.badre@gmail.com>, Earl Goldstein <ehgsteelers6@gmail.com>

           Another point of clarification. We agreed that we would continue with the same number of chart reviews. Currently
           we review approximately 1-2.5% of clinical visits.  5% would equal approx. 10 charts a day which I think would be
           too time consuming.

           Steven Mannis M .D
           Correctional Physicians Medical Group, Inc.
           3525 Del Mar Heights Rd. Ste 231
           San Diego, CA 92130
           Tel: (858) 480-5276

            On Wed, Sep 21, 2016 at 5:52 PM, Lee, Barbara <Barbara.Lee@sdsheriff.org> wrote:
            i Will do.
            I

                On Sep 21, 2016, at 5:31 PM, Steve Mannis <steve@cpmedgroup.com> wrote:


                  I would like something stated that the reviews we do and present to the Medical Administration are for QA/QI
                  purposes only and are non discoverable at anytime . Thank you for this addition.

                  Steven Mannis M.D
                  Correctional Physicians Medical Group, Inc.
                  3525 Del Mar Heights Rd. Ste 231
                  San Diego, CA 92130
                  Tel: (858) 480-5276




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                  I Steven Mannis M.D
                  i
                  I Correctional Physicians Medical Group, Inc.
                  13525 Del Mar Heights Rd. Ste 231
                  i
                  I San Diego, CA 92130
                  l
                  i Tel:   (858) 480-5276

                  I


          Lee, Barbara <Barbara.Lee@sdsheriff.org>                                                Fri, Sep 23, 2016 at 3:40 PM
          To: Steve Mannis <steve@cpmedgroup.com>
          Cc: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "Sanjay S. Rao" <ssraomd@gmail.com>, Nicolas Badre
          <nicolas.badre@gmail.com>, Earl Goldstein <ehgsteelers6@gmail.com>


            Ok for now. We can discuss this in the future.




            Barbara Lee
            Medical Services Administrator

            SherHI's Department, Medical Services Division

            5530 Overland Ave., Ste. 370

            San Diego, CA 92123

            Mail Stop 0-3 l 7

            Desk Phone (858) 974-5966; Cell Phone (619) 876-0987; Fax (858) 974-5870




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                   Steven Mannis M.D

                   Correctional Physicians Medical Group, Inc.

                   3525 Del Mar Heights Rd. Ste 231

                   San Diego, CA 92130

                   Tel: (858) 480-5276




          Lee, Barbara <Barbara.Lee@sdsheriff.org>                                                Fri, Sep 23, 2016 at 3:47 PM
          To: Steve Mannis <steve@cpmedgroup.com>
          Cc: "Joshua, Alfred (MD)" <Alfred.Joshua@sdsheriff.org>, "Sanjay S. Rao" <ssraomd@gmail.com>, Nicolas Badre
          <nicolas.badre@gmail.com>, Earl Goldstein <ehgsteelers6@gmail.com>


            Please refer to attachment. I've revised the summary to incorporate your input.




           Barbara Lee
           Medical Services Administrator

           Slwriff's Department, Medical Services Division

           5S30 Overland Ave., Ste. 370

           San Diego, CA 92123

           Mail Stop 0-3 l 7

           Desk Phone (858) 974-5966; Cell Phone (619) 876-0987; Fax (SSS) 974-5870




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                                      54




      MEETING SUMMARY

      Date: September 21, 2016 (revised 9/23/16)

      Attendance: [Sheriff] - Barbara, Dr. Joshua, Dr. Goldstein, Nancy
      [CPMG] - Dr. Mannis


      Below is a summary of items discussed.

      Incidents involving Provider (Quality of Care Issues)
      The Sheriff's Medical Services Administrator or Chief Medical Officer or their designee
      will notify Dr. Mannis and the CPMG medical director. A review process as follows will
      immediately take place:

      In the event of an inmate death or serious incident where the provider's clinical
      judgment may be at issue, the provider will be removed temporarily from the schedule
      pending review.     CPMG will temporarily remove the provider from the schedule.
      CPMG will notify the provider.

      CPMG will conduct a review of the incident and submit its documentation of the analysis
      and recommended corrective actions to the Sheriff's Chief Medical Officer.

      Within 7 business days of the date or knowledge of the incident, CPMG and Sheriff's
      Medical Services Administration will discuss the case and any corrective actions,
      including the provider's continued employment status.

      CPMG will notify the provider of the disposition.

      Incidents involving Provider's failure to meet standards of behavior
      The Sheriff's Medical Services Administrator or Chief Medical Officer or their designee
      will notify Dr. Mannis and the CPMG medical director.

      The provider may remain on the schedule. CPMG is to discuss the incident with the
      Provider, document the discussion, and report back to the Sheriff's Chief Medical
      Officer. Repeated violations may result in removal of the Provider.

      Please note that sworn command alone may exercise its right to revoke the Provider's
      facility clearance. This can either be unique to the facility or to all facilities. Sheriffs
      Medical Services Administration will discuss this matter with sworn command on a
      case-by-case basis.

      Psychiatric Peer Review - Inmate Safety Program
      The form presented by CPMG is acceptable. One minor recommended change is to
      add a line indicating "Reason for Review" and a line for "Corrective Actions".

      Chart Check Reviews
      Volume - 5% patients seen. Per CPMG's clarification, this is 1-2, 5% of clinical visits.




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      QA/QI Process
      The forms presented by CPMG are acceptable. CPMG will be responsible for
      tabulating and providing statistical analysis which will be included in the quarterly report
      to Sheriff's Medical Services Administration. CPMG is responsible for maintaining
      copies of the peer reviews on the individual Providers. Per CPMG's clarification, the
      reviews presented to Sheriff's Medical Services Administration is for its QA/QI purposes
      only and not discoverable at any time.

      Nurse Practitioners Conducting Initial Assessments
      Tabled. The Sheriff's Chief Medical Officer will take this under consideration.

      Licensed Psychologist
      Tabled.                     has requested additional days of Thursday and Friday.
      Sheriff's Medical Services Administration has identified the gaps in the system to be on
      weekends. The Sheriff's Chief Medical Officer will determine need and let CPMG know.

      Discharge Summaries
      Discharge summaries from Patton State Hospital are not reviewed by the nurses.
      Psychiatrists requests that the nurses prepare a summary (medications, diagnosis, and
      special conditions) to assist the psychiatrist doing the chart check. Nursing Director will
      assess the situation and report back with recommendations or plan.

      VDF Psychiatrist
      CPMG will seek a replacement for                    In the interim,               will work
      with her on the cases discussed at MDG.

      NEXT STEPS

      CPMG to complete Peer Reviews
        1.




         2.




         3. CPMG to arrange follow-up meeting to discuss                         Dr. Hansen,




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                      Tel: (858) 480-5276




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          Steven Mannis <shmannis@gmail.com>                                                   Fri, Sep 23, 2016 at 3:48 PM
          To: Nicolas Badre <nicolas.badre@gmail.com>, "Sanjay S. Rao" <ssraomd@gmail.com>, Anne Redburn
          <Anne.E.Redburn@alumni.dmu.edu>, Steve Mannis <cpmedgroup@gmail.com>

           I got the county to agree to review 1-2.5% of charts which would mean 2-5 charts a day. (we have stated in the past
           that we review 5 charts a day)

           On Wed, Sep 21, 2016 at 9:44 PM, Nicolas Badre <nicolas.badre@gmail.com> wrote:
           i Here are some thoughts:
           l 1. "Temporary removal of providers" we need some clarification on this. Unless someone did something really
           · outrageous, it seems extreme to do that especially with how little extra coverage we have floating around. If we start
             using this every time we have a suicide, we are looking at 6 weeks a year; if it is every attempt as well, it is 18
             weeks a year.

              2. 5% is a too large amount of notes to review. I think that together as a group we see 150-200 patients per day.
              That is 10 notes to review everyday. This is like treating QA like we do many other things: quantity > quality. 1% is
              much more reasonable unless we have significant time dedicated for administrative work.




              On Wed, Sep 21, 2016 at 3:20 PM, Lee, Barbara <Barbara.Lee@sdsheriff.org> wrote:

                    Dr. Mannis,




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                      Steven Mannis M.D

                      Correctional Physicians Medical Group, Inc.

                      3525 Del Mar Heights Rd. Ste 231

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                    Dr. Mannis,




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                                                         Wednesday, September 28th, 2016
                                                                   at 6:30 pm



               Steven Mannis M.D

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               San Diego, CA 92130

               Tel: (858) 480-5276




           Steve


          Nicolas Badre <nicolas.badre@gmail.com>                                          Fri, Sep 23, 2016 at 4:50 PM
          To: Steven Mannis <shmannis@gmail.com>
          Cc: "Sanjay S. Rao" <ssraomd@gmail.com>, Anne Redburn <Anne.E.Redburn@alumni.dmu.edu>, Steve Mannis
          <cpmedgroup@gmail.com>

                           Hansen,                  each do 10 per months and we are good.

           I'll have Hansen,        , and           reviewed by the end of next week. Then we'll start tackling all the residents
           that come occasionally to central.

           On Friday, September 23, 2016, Steven Mannis <shmannis@gmail.com> wrote:
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               On Wed, Sep 21, 2016 at 3:20 PM, Lee, Barbara <Barbara.Lee@sdsheriff.org> wrote:

                I Dr. Mannis,

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         M Gmail                                                                           Steve Mannis <cpmedgroup@grnail.com>



         Question
         3 messages

         Sara Hansen <saramhansen@gmail.com>                                                             Thu, Sep 29, 2016 at 10:40 PM
         To: Steve Mannis <steve@cpmedgroup.com>

           Hi Dr. Mannis,

           I hope I don't sound too direct, but I'm concerned. The issue is especially highlighted by the abrupt termination of Dr.
           B        I can't help but be concerned about own my job security.

           With the Ruben Nunez case pending, I wonder if my job is also in jeopardy, especially considering the county's
           position/stance?

           You mentioned last night, after an adverse event "you may be removed from the schedule temporarily" ... per the
           county's request.

           I really need clarification on this. I have a mortgage, school loans, other bills, not to mention my livelihood.

           If I should be looking for another job I need to know now.
           More so, is this something I need to constantly worry about?

           Unlike Dr. B        this is my career. Please let me know where I stand.

           Sincerely,
           Sara Hansen

           Sent from my iPhone


         Steve Mannis <steve@cpmedgroup.com>                                                               Fri, Sep 30, 2016 at 10:10 AM
         To: Sara Hansen <saramhansen@gmail.com>
         Cc: Steve Mannis <steve@cpmedgroup.com>

           Sara, I do not think you are in jeopardy of losing your job. The county does want to review your cases which have all
           been excellent except for the outcome of the nunez case.           The providers are treated the same way the nurses are
           at the jails. If there is a serious event or death ( not just an adverse event) the county does reserve the right to
           remove a provider temporarily until the case is reviewed. (this would be within a week) I would hope this would be
           an extremely rare occasion. In this rare event, the case would be reviewed promptly and with your skill level, I doubt
           they would remove you permanently.             I value your services and would not want you seeking another job. In fact I
           am hoping to give you a raise in 6 months.           B        did several things where his care was felt to be dangerous to
           patients.     I don't think you practice the same type of Medicine.
           I hope you make this your career and look forward to working with you for a long time.

           Steven Mannis M.D
           Correctional Physicians Medical Group, Inc.
           3525 Del Mar Heights Rd. Ste 231
           San Diego, CA 92130
           Tel: (858) 480-5276

           On Thu, Sep 29, 2016 at 10:40 PM, Sara Hansen <saramhansen@gmail.com> wrote:
             Hi Dr. Mannis,

              I hope I don't sound too direct, but I'm concerned. The issue is especially highlighted by the abrupt termination of Dr.


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     Case 3:16-cv-01412-BEN-MDD Document 431-2 Filed 06/25/19 PageID.11054 Page 54 of
                                           54
Gmail - Question                                                            https://mail.google.com/mail/u/2?ik=7681accd8b&view=pt&search=all ...



            ' B       I can't help but be concerned about own my job security.

            . With the Ruben Nunez case pending, I wonder if my job is also in jeopardy, especially considering the county's
            · position/stance?

            ; You mentioned last night, after an adverse event "you may be removed from the schedule temporarily" ... per the
            ' county's request

             I really need clarification on this. I have a mortgage, school loans, other bills, not to mention my livelihood.

             If I should be looking for another job I need to know now.
             More so, is this something I need to constantly worry about?

            ; Unlike Dr. B       this is my career. Please let me know where I stand.

            : Sincerely,
            , Sara Hansen

             Sent from my iPhone



         Sara Hansen <saramhansen@gmail.com>                                                                Fri, Sep 30, 2016 at 8:45 PM
         To: Steve Mannis <steve@cpmedgroup.com>

           Dr. Mannis,

           Thank you. I appreciate your response and I am somewhat reassured. Honestly, I really enjoy the work. I want to
           be an integral part in improving psychiatric care in the SD jail system now, as well as in the future. I think it's a good fit
           for me. I'm not sure what lies ahead with the Nunez case. I will hope for the best.

           Kindest Regards,
           Sara

           Sent from my iPhone

           On Sep 30, 2016, at 10:10 AM, Steve Mannis <steve@cpmedgroup.com> wrote:


             Sara, I do not think you are in jeopardy of losing your job. The county does want to review your cases which have
             all been excellent except for the outcome of the nunez case.          The providers are treated the same way the nurses
             are at the jails. If there is a serious event or death ( not just an adverse event) the county does reserve the right to
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